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                        EXHIBIT H
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Teny Geragos

From:                                                Anna Estevao <AEstevao@shertremonte.com>
Sent:                                                Thursday, February 6, 2025 4:41 PM
To:                                                  Teny Geragos; Bolger, Kate
Subject:                                             Re: Subpoena to CNN



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unless you recognize the sender and know the content is safe.
Kate,

Thank you for the call earlier. Based on our discussion, we now understand that CNN received a video
file from a source (the "Original Video File"), made a complete copy of that video file (the "Copy"), and, as
you mentioned for the first time today, deleted the Original Video File. We also understand that the Copy
does not include any metadata other than the file type. We further understand that CNN is willing to
produce the full, unedited Copy in response to the subpoena. In our previous discussions, you have told
us this includes the footage from all three camera angles. Please confirm that there are no other copies
of the Original Video File that contain a more complete version of the footage or metadata from the
Original Video File.

In addition, we understand that CNN is also willing to produce the video that CNN first broadcast on May
17, 2024. As we explained, the video that is currently on CNN's website is an updated version, published
after May 17, 2024, that includes material from Mr. Combs' instagram addressing the footage (this was
not posted until May 19, 2024),
                                  (this was not cut within the footage aired originally in the afternoon of
May 17, 2024), among other edits to the footage CNN first broadcast in the afternoon of May 17, 2024.

Please let us know if this is inconsistent with your understanding.

Best,
Anna



                               Anna Estevao
                               Sher Tremonte LLP
                               90 Broad Street, 23rd Floor | New York, NY 10004
                               tel: 212.202.3354 | fax: 212.202.4156
                               aestevao@shertremonte.com
                               www.shertremonte.com




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From: Anna Estevao
Sent: Wednesday, February 5, 2025 10:46 AM

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To: Teny Geragos <teny@agilawgroup.com>; Bolger, Kate <KateBolger@dwt.com>
Subject: RE: Subpoena to CNN

Kate,

I’m also a little confused by your email. Is CNN agreeing to produce the video file that was originally received from
the source or a duplicate? To be clear, we want the metadata from the original file received (except for information
identifying the source).

Anna


                               Anna Estevao
                               Sher Tremonte LLP
                               90 Broad Street, 23rd Floor | New York, NY 10004
                               tel: 212.202.3354 | fax: 212.202.4156
                               aestevao@shertremonte.com
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From: Teny Geragos <teny@agilawgroup.com>
Sent: Tuesday, February 4, 2025 11:53 PM
To: Bolger, Kate <KateBolger@dwt.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: Re: Subpoena to CNN

I have not located it online. Your client should have what was originally broadcast on that day, though.

Teny R. Geragos
Agnifilo Intrater LLP
www.agilawgroup.com

sent from my iPhone

From: Bolger, Kate <KateBolger@dwt.com>
Sent: Tuesday, February 4, 2025 11:49:36 PM
To: Teny Geragos <teny@agilawgroup.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: RE: Subpoena to CNN

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Can you send me a link?

Kate Bolger
Partner, Davis Wright Tremaine LLP
P 212.402.4068 E katebolger@dwt.com
A 1251 Avenue of the Americas, 21st Floor, New York, NY 10020-1104
DWT.COM


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From: Teny Geragos <teny@agilawgroup.com>
Sent: Tuesday, February 4, 2025 11:49 PM
To: Bolger, Kate <KateBolger@dwt.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: Re: Subpoena to CNN

[EXTERNAL]

There was an earlier version that was broadcast on CNN on May 17th. The version you linked to was
broadcast days after May 17, the day CNN originally aired this footage.
I am available for a call tomorrow to discuss.

Teny R. Geragos
Agnifilo Intrater LLP
www.agilawgroup.com

sent from my iPhone

From: Bolger, Kate <KateBolger@dwt.com>
Sent: Tuesday, February 4, 2025 11:46:19 PM
To: Teny Geragos <teny@agilawgroup.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: RE: Subpoena to CNN

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unless you recognize the sender and know the content is safe.
Hi Teny
I am sorry – I don’t think I understand what you mean. Are you saying there was an earlier version? Can you send a
link? That is the earliest we were able to identify.
Kate Bolger

Kate Bolger
Partner, Davis Wright Tremaine LLP
P 212.402.4068 E katebolger@dwt.com
A 1251 Avenue of the Americas, 21st Floor, New York, NY 10020-1104
DWT.COM




From: Teny Geragos <teny@agilawgroup.com>
Sent: Tuesday, February 4, 2025 11:43 PM
To: Bolger, Kate <KateBolger@dwt.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: Re: Subpoena to CNN

[EXTERNAL]

Kate, one additional point we did not include in yesterday’s email is that the link you included in your
original email does not show what CNN aired on May 17, 2024. It includes for example

Please produce the version that was originally aired on May 17, 2024, and not the version currently on
CNN’s website.


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Get Outlook for iOS

From: Bolger, Kate <KateBolger@dwt.com>
Sent: Tuesday, February 4, 2025 11:36:47 PM
To: Anna Estevao <AEstevao@shertremonte.com>; Teny Geragos <teny@agilawgroup.com>
Subject: RE: Subpoena to CNN

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unless you recognize the sender and know the content is safe.
Dear Anna

CNN is, should you agree to the terms below, agreeing to provide the “video surveillance footage”, as requested in
the subpoena and as kept in the ordinary course of CNN’s business. We do not intend to alter any metadata in
producing the file to you.

That video footage is a copy of the start to finish video surveillance footage in CNN’s possession, including from all
three cameras. CNN is not producing any duplicative footage that may contain source material.

Please confirm your agreement.

Thanks
Kate Bolger


Kate Bolger
Partner, Davis Wright Tremaine LLP
P 212.402.4068 E katebolger@dwt.com
A 1251 Avenue of the Americas, 21st Floor, New York, NY 10020-1104
DWT.COM




From: Anna Estevao <AEstevao@shertremonte.com>
Sent: Monday, February 3, 2025 8:50 PM
To: Bolger, Kate <KateBolger@dwt.com>; teny@agilawgroup.com
Subject: Re: Subpoena to CNN

[EXTERNAL]

Thank you, Kate. Can you please confirm the following: (1) that the removal of source information will
not impact other metadata or file properties, including but not limited to frame rate, date created, date
modified, resolution, file type, and compression type; and (2) the unaired footage includes all footage
and all camera angles received by CNN, as requested in the subpoena. With that understanding, we are
in agreement.


                     Anna Estevao
                     Sher Tremonte LLP
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                     aestevao@shertremonte.com
                     www.shertremonte.com



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From: Bolger, Kate <KateBolger@dwt.com>
Sent: Monday, February 3, 2025 2:30 PM
To: teny@agilawgroup.com <teny@agilawgroup.com>; Anna Estevao <AEstevao@shertremonte.com>
Subject: Subpoena to CNN


Dear Teny and Anna
Thank you for speaking earlier.

First, I confirm that I accept service of the subpoena for CNN in return for a brief extension of time to Friday,
February 7, to respond to the subpoena. Will you all please alert the Court to that agreement, cc’ing me on the
email? Thank you.

Next, I told you that, without waving CNN’s objections to the subpoena, CNN will agree to provide 1) a copy of the
video published at this URL: https://www.cnn.com/2024/05/17/entertainment/video/sean-diddy-combs-cassie-
venture-surveillance-digvid; and 2) the unaired footage from the hotel surveillance camera as requested in the
subpoena provided that you agree that CNN will not provide any information that might identify the source of the
footage and in exchange for your agreement not to seek that information or anything else going forward and that
this matter is concluded

If you agree, we will endeavor to get you those materials by Friday.
Kate Bolger




                  Kate Bolger
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                  A 1251 Avenue of the Americas, 21st Floor, New York, NY 10020-1104

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